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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 JOHN DOE,                                              §
     Plaintiff,                                         §
                                                        §
  v.                                                    §
                                                        §
  TEXAS A&M UNIVERSITY, DAYNA                           §
  FORD, as agent for Texas A&M                          §
  University, ROBIN SHUGLIE, as agent                   §
  for Texas A&M University, GLENN                       §
  STARNES, as agent for Texas A&M                       §        CIVIL ACTION NO. 4:17-cv-02500
  University, MIKE DULKE, as agent for                  §
  Texas A&M University, KYLE                            §
  MCCRACKEN, as agent for Texas A&M                     §
  University, TERRI ALLISON, as agent for               §
  Texas A&M University, JOSHUA                          §
  ISRINGHAUSEN, as agent for Texas                      §
  A&M University, DALE NORRIS, as                       §
  agent for Texas A&M University, and                   §
  ANNE REBER, as agent for Texas A&M                    §
  University,                                           §
        Defendants.                                     §

                          JOINT ADVISORY TO THE COURT AND
                         MOTION TO ABATE DEADLINES BY 90 DAYS

        Plaintiff filed this suit on September 1, 2017, alleging violations of due process and Title

IX, as well as state law claims. On November 6, 2017, Defendants timely filed a motion to dismiss

all claims. Counsel have conferred. While Counsel have opposing legal arguments, they appreciate

the benefit to their clients of collaborative discussions. In the interest of efficiency and judicial

economy, Counsel jointly request an abatement until February 27, 2018 of all deadlines in the case,

specifically including the deadline for Plaintiff’s Response to Defendants’ Motion to Dismiss, so

that the parties may explore collaborative solutions and approaches.




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Respectfully submitted,

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